     Case: 1:20-cv-01058 Document #: 48 Filed: 06/25/20 Page 1 of 1 PageID #:1465




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

MONSTER ENERGY COMPANY,
              Plaintiff,                           Case No. 20-cv-01058
v.                                                 Judge Jorge L. Alonso
COOLKID STORE, et al.,                             Magistrate Judge Gabriel A. Fuentes
              Defendants.


                     NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff Monster

Energy Company (“MEC” or “Plaintiff”), hereby dismisses this action, with leave to reinstate

within one hundred and eighty (180) days, as to the following Defendants:

              Defendant Name                                       Line No.
             Last LifeStyle Store                                     14
                   Flyzoo                                             29

Dated this 25th day of June 2020.           Respectfully submitted,

                                            /s/ Allyson M. Martin
                                            Amy C. Ziegler
                                            Justin R. Gaudio
                                            Allyson M. Martin
                                            Greer, Burns & Crain, Ltd.
                                            300 South Wacker Drive, Suite 2500
                                            Chicago, Illinois 60606
                                            312.360.0080
                                            312.360.9315 (facsimile)
                                            aziegler@gbc.law
                                            jgaudio@gbc.law
                                            amartin@gbc.law

                                            Attorneys for Plaintiff Monster Energy Company
